USCA4 Appeal: 23-4676      Doc: 21         Filed: 08/26/2024     Pg: 1 of 3




                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 23-4676


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        JANSEN V. CARR,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Northern District of West Virginia, at
        Martinsburg. Gina M. Groh, District Judge. (3:19-cr-00017-GMG-RWT-3)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        ON BRIEF: Aaron D. Moss, Assistant Federal Public Defender, OFFICE OF THE
        FEDERAL PUBLIC DEFENDER, Martinsburg, West Virginia, for Appellant. William
        Ihlenfeld, United States Attorney, Wheeling, West Virginia, Kimberley D. Crockett,
        Assistant United States Attorney, OFFICE OF THE UNITED STATES ATTORNEY,
        Martinsburg, West Virginia, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               In 2019, Jansen V. Carr pleaded guilty to distribution of cocaine base, in violation

        of 21 U.S.C. § 841(a). The district court sentenced Carr to five years’ probation. In 2023,

        the court revoked Carr’s probation and sentenced his to time-served, followed by three

        years’ supervised release. Shortly thereafter, Carr violated the terms of his supervised

        release. The district court revoked Carr’s supervised release and sentenced him to 24

        months’ imprisonment. Carr now appeals, arguing that the upward-variant sentence is

        plainly unreasonable because the district court did not adequately explain its chosen

        sentence or address his nonfrivolous mitigating arguments. We affirm.

              “We affirm a revocation sentence so long as it is within the prescribed statutory

        range and is not plainly unreasonable.” United States v. Coston, 964 F.3d 289, 296 (4th

        Cir. 2020) (internal quotation marks omitted). When reviewing whether a revocation

        sentence is plainly unreasonable, we first “determine whether the sentence is unreasonable

        at all.” Id. (internal quotation marks omitted). “In making this determination, we follow

        generally the procedural and substantive considerations that we employ in our review of

        original sentences, with some necessary modifications to take into account the unique

        nature of supervised release revocation sentences.” United States v. Slappy, 872 F.3d 202,

        207 (4th Cir. 2017) (cleaned up). “A revocation sentence is procedurally reasonable if the

        district court adequately explains the chosen sentence after considering the Sentencing

        Guidelines’ nonbinding Chapter Seven policy statements and the applicable 18 U.S.C.

        § 3553(a) factors.” Coston, 964 F.3d at 297 (internal quotation marks omitted); see 18

        U.S.C. § 3583(e).

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               We conclude Carr’s sentence is not plainly unreasonable.          The district court

        considered the relevant statutory factors and thoroughly explained its rationale for

        imposing the above-policy statement range sentence, emphasizing that the statutory

        maximum sentence was necessary to account for Carr’s repeated noncompliance with the

        conditions of his release.

               We therefore affirm the revocation judgment. We dispense with oral argument

        because the facts and legal contentions are adequately presented in the materials before this

        court and argument would not aid the decisional process.

                                                                                        AFFIRMED




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